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          Plaintiff respectfully submits this Memorandum of Law in support of its Motion for

Summary Judgment under Rule 56 of the Federal Rules of Civil Procedure and Local Rule 56(a).

The undisputed material facts establish that Plaintiff is entitled to judgment as a matter of law as

to liability on all claims asserted in the Complaint, as well as on Defendant’s counterclaims and

affirmative defenses.

          Plaintiff holds longstanding, incontestable rights to its BLACK WIDOW logo, as well as

registered trademark rights in the BLACK WIDOW name itself, generally for pest remediation

services. The record conclusively demonstrates: (1) Plaintiff has valid, incontestable trademark

rights in its BLACK WIDOW marks, with priority dating back long before Defendant began its

business; (2) Defendant adopted the BLACK WIDOW mark in 2021, nearly two decades after

Plaintiff’s first use and several years after Plaintiff’s logos became incontestable in 2019, for

identical pest control services; (3) The parties’ logos are strikingly similar in both appearance and

commercial impression; (4) Defendant’s adoption and use of BLACK WIDOW for pest control

services has caused actual consumer confusion, and at least sixteen documented instances of actual

consumer confusion exist; (5) Defendant continues to use the BLACK WIDOW mark for pest

control services despite knowledge of the growing instances of actual consumer confusion; (6)

BLACK WIDOW is not descriptive of any services provided by Plaintiff or Defendant; and (7)

Defendant has not produced any admissible evidence or identified any witnesses with knowledge

sufficient to establish that any alleged third-party use of BLACK WIDOW predates Plaintiff’s

rights.

          As detailed in Sections II and III below, Defendant’s counterclaims fail as a matter of law

and are wholly unsupported by admissible evidence. Specifically, Defendant cannot maintain its

fraud claim because Defendant has not produced a single piece of evidence, documentary or




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testimonial, showing that Plaintiff had knowledge of any third-party use of BLACK WIDOW prior

to filing its latest trademark application. Nor has Defendant offered any admissible proof that any

such third-party use actually occurred before Plaintiff’s priority date or that such use has been

continuous. Despite having ample opportunity during discovery, Defendant did not subpoena

relevant documents, depose any alleged third-party users, or submit any sworn statements from

those individuals. None of the witnesses identified in Defendant’s initial disclosures or

interrogatory responses have any knowledge of the alleged third-party use of BLACK WIDOW.

Defendant also failed to provide any evidence of harm, lost business, or damages attributable to

Plaintiff’s use of the BLACK WIDOW mark. Likewise, there is no evidence in the record

supporting the alleged misconduct or statutory defenses raised in Defendant’s second, ninth, tenth

and twelfth affirmative defenses. But fundamentally, with respect to the Defendant’s counterclaim

for trademark infringement, Plaintiff owns incontestable rights to its BLACK WIDOW logo – this

means Defendant cannot stop Plaintiff from using the BLACK WIDOW mark in Connecticut or

anywhere else in the country because the incontestability statute precludes Defendant’s

counterclaim as a matter of law 15 USC §1065. (“the right of the owner to use such registered

mark in commerce for the goods or services on or in connection with which such registered

mark…shall be incontestable”). Yet Defendant seeks to maintain a counterclaim to prevent

Plaintiff from using its registered and incontestable logo that contains the words BLACK

WIDOW.

       While a court must view the evidence in the light most favorable to the non-moving party,

summary judgment cannot be defeated by mere speculation or conclusory allegations. See D'Amico

v. City of New York, 132 F.3d 145, 149 (2d Cir. 1998) (“The non-moving party may not rely on

mere conclusory allegations nor speculation, but instead must offer some hard evidence showing




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that its version of the events is not wholly fanciful.”) Here, there is a complete lack of evidence to

support Defendant’s claims.

         Accordingly, because Defendant has failed to raise a genuine dispute of material fact

supported by admissible evidence – or even evidence that could conceivably be admitted at trial if

the right witnesses were to appear1 – and because Plaintiff has established its entitlement to relief

as a matter of law, summary judgment should be granted in Plaintiff’s favor on all claims,

counterclaims and the specified affirmative defenses.

                                                  BACKGROUND

         Plaintiff is the senior user and federal trademark registrant of the BLACK WIDOW brand

in connection with pest and termite control, making continuous use of the mark since 2003. (Pl.

56(a)(1) ¶ 143). Plaintiff has promoted and offered its BLACK WIDOW pest control services in

interstate commerce, including in New York and New Jersey. Additionally, several of Plaintiff’s

New York-based customers reside in Connecticut and own or manage properties in New York

City. (Pl. 56(a)(1) ¶ 147). Plaintiff’s BLACK WIDOW trademarks are registered with the United

States Patent and Trademark Office and all but one has achieved incontestable status under 15

U.S.C. § 10652. These registrations afford Plaintiff the exclusive right to use the BLACK WIDOW

name and logo in connection with pest control services nationwide. See 15 U.S.C. §§ 1115(a)-(b).

         Plaintiff is also licensed to provide wildlife management services in the disputed region,

i.e., Connecticut. (Pl. 56(a)(1) ¶ 158). Thus, Plaintiff satisfies the legal prerequisites for obtaining

injunctive relief in this region. Dawn Donut v. Hart’s Food Stores, 267 F.2d 358 (2d Cir. 1959);



1
  Again, no witnesses that could support Defendant’s allegations have been identified during discovery. It would be
wholly improper for any Defendant witness to produce supporting testimony at trial.
2
  The remaining registration, U.S. Trademark Registration No. 7,466,919, registered in 2024 and has not yet accrued
the requisite number of years for incontestability. There is little question that the registration will become incontestable
upon submission of a Section 15 Declaration of Incontestability between the 5th and 6th years of registration (between
August 6, 2029, and August 6, 2030).


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Guthrie Healthcare System v. ContextMedia, Inc., 873 F.3d 160 (2d Cir. 2017).

       In 2021, Defendant adopted an almost identical BLACK WIDOW logo for use in

connection with pest control services. (Pl. 56(a)(1) ¶ 28). The parties’ logos are undeniably similar

in both appearance and commercial impression. Both Plaintiff’s and Defendant’s logos

prominently feature the identical wording “BLACK WIDOW,” as well as a spider design, the color

red, the color black, and the word “PEST”. (Pl. 56(a)(1) ¶¶ 32-36; Ex. F, Blake Black Dep. Sept.

24, 2024 at 197:12-204:13). A side-by-side comparison of the two logos, shown below, illustrates

their overall similarity and underscores the potential for consumer confusion:

      Plaintiff’s BLACK WIDOW logo                      Defendant’s BLACK WIDOW logo




       Indeed, the Court has already acknowledged that the parties’ logos are similar. (Pl. 56(a)(1)

¶ 30). That conclusion is further confirmed by the sixteen (16) instances of actual consumer

confusion that have been documented between November 2023 and May 2025. (Pl. 56(a)(1) ¶¶

55-70). Among those confused was Bridgette Burr, a consumer who fits the prototypical profile

of a pest control customer. Defendant performed work in Ms. Burr’s home on two separate

occasions. Both times, Ms. Burr saw Defendant’s branded trucks and uniforms. (Pl. 56(a)(1) ¶ 72).

Ms. Burr testified that despite having previously seen Defendant’s branding on two separate

occasions, and even after being shown both logos during her deposition, she was still unable to

distinguish between Plaintiff’s and Defendant’s logos. (Pl. 56(a)(1) ¶¶ 71-73). Her testimony is



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persuasive evidence of actual marketplace confusion, particularly because she reflects the

perspective of an ordinary consumer as opposed to an industry insider. While Defendant’s

representatives may argue that the logos are substantially different, the law does not assess

confusion from their perspective. Rather, the law focuses on the perception of ordinary consumers,

the true target audience who are more likely to be confused, not the business owners who are

intimately familiar with the marks through daily exposure. See 1-800 Contacts, Inc. v. JAND, Inc.,

119 F.4th 234, 248 (2d Cir. 2024) ("[t]he crucial issue…is whether there is any likelihood that an

appreciable number of ordinarily prudent purchasers are likely to be misled, or indeed simply

confused, as to the source of the goods in question.”) Fundamentally, there are sixteen (16)

documented instances where consumers were unable to distinguish between Plaintiff and

Defendant, including a well-documented instance from a video deposition transcript in which a

subpoenaed witness, Ms. Burr, despite her involvement in this litigation, could not tell the

difference. Simply put, Defendant has presented no evidence from actual consumers who can

distinguish the marks and has failed to identify any consumer witnesses in their discovery

responses who could competently testify to that effect. By contrast, the only “evidence” Defendant

offers in opposition consists of conclusory, self-serving testimony from its principal and a former

employee – neither of whom represent the average consumer, and both of whom are intimately

familiar with Defendant’s branding.

       In short, Plaintiff’s priority and incontestable trademark rights, the logo similarity and the

existence of actual confusion are all firmly established. Defendant lacks any admissible relevant

evidence. Its defenses and counterclaims rest entirely on conjecture and unsupported assertions.




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                                          ARGUMENT

I.     DEFENDANT’S USE OF THE “BLACK WIDOW” MARK INFRINGES
       PLAINTIFF’S REGISTERED MARKS UNDER THE LANHAM ACT

       In order to prevail on a claim for trademark infringement under § 32 of the Lanham Act,

15 U.S.C. § 1114, Plaintiff must establish that Defendant (1) without consent, (2) used in

commerce, (3) a reproduction, copy or colorable imitation of plaintiff's registered mark, as part of

the sale or distribution of goods or services, and (4) that such a use is likely to cause confusion.

See Gruner + Jahr USA Publ'g v. Meredith Corp., 991 F.2d 1072, 1075 (2d Cir. 1993).

       Here, there is no genuine dispute that Defendant’s use of BLACK WIDOW satisfies each

of these statutory elements. Defendant has used the identical BLACK WIDOW mark in commerce

in connection with pest control services since at least 2021 (Pl. 56(a)(1)¶ 28), without Plaintiff’s

consent (id.¶ 24). Defendant’s use of the identical BLACK WIDOW mark in commerce in

connection with pest control services not only creates a likelihood of confusion; rather, such use

has resulted in multiple, documented instances of actual consumer confusion (Pl. 56(a)(1) ¶¶ 53-

75). Such evidence provides confirmation that the confusion is not hypothetical, but real and

ongoing.

       Courts in the Second Circuit assess likelihood of confusion using the multifactor test set

forth in Polaroid Corp. v. Polarad Elecs. Corp., 287 F.2d 492, 495 (2d Cir.1961). The eight

nonexclusive factors are:

       (1) strength of the trademark; (2) similarity of the marks; (3) proximity of the
       products and their competitiveness with one another; (4) evidence that the senior
       user may “bridge the gap” by developing a product for sale in the market of the
       alleged infringer’s product; (5) evidence of actual consumer confusion; (6)
       evidence that the imitative mark was adopted in bad faith; (7) respective quality of
       the products; and (8) sophistication of consumers in the relevant market. Id.

Accordingly, to determine whether Plaintiff can prevail on its claim of trademark infringement,




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the Court must evaluate the Polaroid factors to determine whether Defendant’s use of the BLACK

WIDOW mark is likely to cause confusion. Each of the relevant Polaroid factors strongly supports

a finding of infringement. The presence of actual confusion further tilts the analysis decisively in

Plaintiff’s favor, warranting summary judgment in Plaintiff’s favor.

       A. Strength of Plaintiff’s Mark – Polaroid Factor 1

       The first Polaroid factor, the strength of Plaintiff’s mark, encompasses two related

concepts, both of which relate significantly to likelihood of consumer confusion: “inherent

distinctiveness” and “acquired distinctiveness.” See Virgin Enters. Ltd. v. Nawab, 335 F.3d 141,

147 (2d Cir. 2003). Plaintiff submits that the first Polaroid factor weighs in its favor because

Plaintiff’s BLACK WIDOW marks have acquired distinctiveness through Plaintiff’s extensive and

exclusive use of such marks in commerce.

       Specifically, U.S. Trademark Registration Nos. 4,624,108 (the “‘108 Registration’”) and

4,624,109 (the “‘109 Registration’”) have both attained incontestable status under Section 15 of

the Lanham Act, 15 U.S.C. § 1065 (Pl. 56(a)(1) ¶¶ 2-5, 153). Defendant admitted incontestability

in their Answer (id. ¶¶ 8, 154-155). As set forth in 15 U.S.C. § 1115(a) and (b), the incontestable

status of the ‘108 and ‘109 Registrations constitutes conclusive evidence of Plaintiff’s ownership

of the marks, valid use in commerce, and exclusive right to use the marks in connection with the

registered pest control services. See 15 U.S.C. §§ 1115(a)-(b).

       Further, Plaintiff’s more recent U.S. Registration No. 7,466,919 (the “‘919 Registration”)

for the BLACK WIDOW word mark issued on the Principal Register without a disclaimer and

after the USPTO accepted Plaintiff’s claim of acquired distinctiveness under Section 2(f) (Pl.

56(a)(1) ¶¶ 6-7). This confirms that the USPTO recognizes Plaintiff’s BLACK WIDOW as having

acquired secondary meaning through Plaintiff’s longstanding and exclusive commercial use of the




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mark. See 15 U.S.C. § 1052(f); see also Pl. 56(a)(1) ¶¶ 15-20. Importantly, under TMEP §

1212.05(b), the concept of “substantially exclusive use” allows for some infringing or

inconsequential uses by others without invalidating a claim of acquired distinctiveness. See 15

U.S.C. § 1052(f); 37 C.F.R. §2.41(a)(2); L.D. Kichler Co. v. Davoil, Inc., 192 F.3d 1349, 1352, 52

USPQ2d 1307, 1309 (Fed. Cir. 1999). Defendant’s primary attack on the ‘919 Registration is based

on the fact that its underlying application was filed the day before Plaintiff sent the cease-and-

desist letter that started this dispute. But this timing is irrelevant as a matter of law. See L.D. Kichler

Co. v. Davoil, Inc., 192 F.3d 1349, 1352, 52 USPQ2d 1307, 1309 (Fed. Cir. 1999) (“As the

Trademark Manual of Examining Procedure, § 1212.05(b), recognizes: The five years of use does

not have to be exclusive, but may be ‘substantially’ exclusive. This makes allowance for use by

others which may be inconsequential or infringing and which therefore does not necessarily

invalidate the applicant's claim”). In fact, the fact that Plaintiff sent a cease-and-desist letter after

filing the ‘919 Registration underscores that Plaintiff viewed Defendant’s use of the BLACK

WIDOW mark as infringing.

        Thus, Plaintiff’s acquired distinctiveness in its BLACK WIDOW mark is supported by: (1)

Plaintiff’s continuous use of its BLACK WIDOW marks since 2003 (Pl. 56(a)(1) ¶¶ 142-143); (2)

the fact that Plaintiff is the only owner of Class 037 marks containing the words “BLACK” and

“WIDOW” for “pest” services (id. ¶¶ 15-20); (3) the incontestable status of the ‘108 and ‘109

Registrations (id. ¶¶ 2-5, 153); and (4) the USPTO’s acceptance of Plaintiff’s Section 2(f) claim

in U.S. Serial No. 98/124,482, and eventual registration of the application on the Principal Register

without a disclaimer, following an examiner’s search of the Register that revealed no conflicting

marks (id. ¶¶ 6-7, 106).

        With its continuous interstate use, ownership of two federally registered incontestable




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trademarks, and ownership of a third trademark that issued without disclaimer under a 2(f) claim

of acquired distinctiveness, it is difficult to imagine a mark that enjoys greater strength than

Plaintiff’s BLACK WIDOW family of marks.

       Accordingly, the first Polaroid factor – the strength of Plaintiff’s mark – weighs heavily in

favor of Plaintiff. Plaintiff’s BLACK WIDOW mark is legally and commercially strong, precisely

the kind of source identifier that the Lanham Act is designed to protect. But, at minimum,

Defendant admitted during his deposition that the factor is neutral. (id. ¶ 27).

       B. Similarity of the Marks – Polaroid Factor 2

       The second Polaroid factor, the similarity between the parties’ marks, examines the overall

impression created by the marks, considering the totality of factors that could cause confusion

amongst consumers. See Star Indus., Inc. v. Bacardi & Co., 412 F.3d 373, 386 (2d Cir. 2005) citing

Gruner + Jahr USA Publ'g v. Meredith Corp., 991 F.2d 1072, 1078 (2d Cir. 1993). Specifically,

when comparing marks, “[t]he proper test is not a side-by-side comparison of the marks, but

instead whether the marks are sufficiently similar in terms of their commercial impression such

that [consumers] who encounter the marks would be likely to assume a connection between the

parties.” See TMEP §1207.01(b); see also Cai v. Diamond Hong, Inc., 901 F.3d 1367, 1373, 127

USPQ2d 1797, 1801 (Fed. Cir. 2018) (quoting Coach Servs., Inc. v. Triumph Learning LLC, 668

F.3d 1356, 1368, 101 USPQ2d 1713, 1721 (Fed. Cir. 2012). Factors considered when determining

whether two marks are similar include: appearance, sound and connotation. See TMEP

§1207.01(b); see also Recot, Inc. v. M.C. Becton, 214 F.3d 1322, 1329, 54 USPQ2d 1894, 1899

(Fed. Cir. 2000). Importantly, the proper focus is on the recollection of the average purchaser, who

retains a general rather than specific impression of trademarks. See TMEP §1207.01(b); see also

In re Ox Paperboard, LLC, 2020 USPQ2d 10878, at *4 (TTAB 2020) citing In re Bay State




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Brewing Co., 117 USPQ2d 1958, 1960 (TTAB 2016); In re St. Helena Hosp., 774 F.3d 747, 750-

51, 113 USPQ2d 1082, 1085 (Fed. Cir. 2014).

       Bridgette Burr exemplifies the “average purchaser, who retains a general rather than

specific impression of trademarks.” When shown the parties’ logos side by side, she was unable

to distinguish them and mistakenly identified Plaintiff’s logo as belonging to the company who

visited her home on two separate occasions, when it was, in fact, Defendant. (Pl. 56(a)(1) ¶¶ 39-

40). Furthermore, there are numerous other instances of documented actual confusion by other of

Defendant’s customers who could not distinguish between Plaintiff’s and Defendant’s branding.

(id. ¶¶ 56-58, 64-69).

       Both parties use BLACK WIDOW alone (i.e., without stylization), and as part of a logo.

When used as a word mark, Plaintiff and Defendant both use the identical mark BLACK WIDOW

for identical pest control services creating an overwhelming likelihood of confusion. (See Ex. L at

2, previously marked as PX-62 at Blake Black Dep. April 23, 2025; Dkt. 48-8 at 2). Namely,

Defendant’s BLACK WIDOW word mark is identical in appearance, sound and connotation to

Plaintiff’s BLACK WIDOW trademark registered under the ‘919 Registration (Pl. 56(a)(1) ¶ 29).

       Furthermore, Defendant’s BLACK WIDOW logo is confusingly similar to Plaintiff’s

BLACK WIDOW logo. See Ex. G. Specifically, as acknowledged by Defendant’s principal, Blake

Black, both logos incorporate the same key elements: (1) the words “BLACK WIDOW,” (2) the

design of a spider, (3) the color red, (4) the color black, and (5) the word “PEST”. See Pl. 56(a)(1)

¶¶ 30-36. These overlapping visual and textual features create a nearly indistinguishable

commercial impression, and there is concrete evidence from an actual consumer to confirm this.

Specifically, Bridgette Burr, a consumer who encountered Defendant’s logo during the provision

of pest control services at her mother’s home. Ms. Burr testified that, even after being shown both




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logos during her deposition, she was unable to distinguish between Plaintiff’s and Defendant’s

logos. See Pl. 56(a)(1) ¶¶ 37-40. When shown Plaintiff’s logo in isolation, she thought it was

Defendant’s and when shown the two side by side, she could not identify which company came to

her house. (Pl. 56(a)(1) ¶¶ 39-40). This is precisely the type of consumer confusion the Lanham

Act seeks to prevent.

        The near-identical nature of the marks – both in wording and design – used in the same

industry reinforces likelihood of confusion as to source, sponsorship or affiliation. Accordingly,

the second Polaroid factor strongly favors Plaintiff.

        C. Proximity of the Services – Polaroid Factor 3

        The third Polaroid factor, the proximity of the products or services, weighs heavily in favor

of Plaintiff. This factor assesses the extent to which the parties’ respective goods or services

compete in the same market or appeal to the same class of consumers. See Polaroid Corp. v.

Polarad Elecs. Corp., 287 F.2d 492, 495 (2d Cir.1961).

        Here, Defendant has stipulated in the Rule 26(f) report that the pest control services

“offered by both Plaintiff and Defendant under the term BLACK WIDOW appear to be in many

cases identical but at least substantially similar.” (Dkt. 16 at 5; Pl. 561. ¶ 42).

        As evidenced by Plaintiff’s U.S. Registration Nos. 4,582,084, 4,624,108, 4,624,109 and

7,466,919, Plaintiff’s BLACK WIDOW marks cover “termite and pest control” services, including

“termite and pest control services other than for agriculture, aquaculture, horticulture and forestry,”

and services directed toward “commercial buildings” and “residential homes.” (See Pl. 56(a)(1) ¶¶

43, 45, 47 and 49). Defendant also uses its BLACK WIDOW mark in connection with termite and

pest control” services, including “termite and pest control services other than for agriculture,

aquaculture, horticulture and forestry,” and services directed toward “commercial buildings” and




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“residential homes,” as confirmed by Defendant’s principal, Blake Black (See Pl. 56(a)(1) ¶¶ 44,

46 and 48).

         The overlap in the nature, scope, and channels of trade for these services leaves no material

factual dispute as to proximity. Both parties offer substantively indistinguishable services under

the same mark, targeting the same customer bases. These undisputed facts establish that the

services are directly proximate in the marketplace. Accordingly, the third Polaroid factor favors

Plaintiff and strongly supports a finding of likelihood of confusion.

         D. “Bridging the Gap” – Polaroid Factor 4

         The fourth Polaroid factor, evidence that the senior user may “bridge the gap”, considers

the likelihood that the senior user will expand into the junior user's market, or that consumers will

perceive the senior user as likely to do so. See Star Indus., Inc. v. Bacardi & Co., 412 F.3d 373,

387 (2d Cir. 2005).

         Here, Plaintiff has already taken concrete steps to bridge any potential geographic or

commercial “gap” that may exist between the parties. Specifically, while Plaintiff has shown

existing operations in New York and New Jersey, several of Plaintiff’s New York-based customers

reside in Connecticut and own or manage properties in New York City. (Pl. 56(a)(1) ¶ 147).

Moreover, Plaintiff has obtained a wildlife license in Connecticut (Pl. 56(a)(1) ¶ 158), indicating

Plaintiff’s plans for continued growth and expansion in that region. However, when there is

evidence of actual confusion, as discussed in the next section, any geographic “gap” is largely

irrelevant. See generally Guthrie Healthcare System v. ContextMedia, Inc., 873 F.3d 160 (2d Cir.

2017).

         Furthermore, while the New York-Connecticut state line is a formal boundary, is

functionally blurred in the consumer context due to the high volume of daily commuting between




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the two regions. According to U.S. Census data, approximately 105,000 Connecticut residents held

jobs in New York state in 2022. Of those, roughly 54,000 commuted specifically to New York

City, with Fairfield County residents accounting for nearly 75% of that figure. (See Exhibit V,

CTData Collaborative, https://www.ctinsider.com/projects/2025/connecticut-live-work/.)3

           Moreover, Plaintiff and Defendant offer nearly identical pest control and wildlife services,

targeting overlapping customer bases. As such, Plaintiff maintains that the parties offer services

which already exist in competitive proximity, and no meaningful “gap” exists. In such

circumstances, the Second Circuit has found the fourth Polaroid factor to be irrelevant to the

overall analysis. See Star Indus., Inc. v. Bacardi & Co., 412 F.3d 373, 387 (2d Cir. 2005).

           Even if Defendant were to argue that Plaintiff currently has no customers or operations in

Connecticut, Connecticut is well within Plaintiff’s reasonable zone of expansion. As discussed

above, Plaintiff is already licensed by the State of Connecticut to provide wildlife management

services, further evidencing its concrete steps toward expansion into the region. See Dawn Donut

v. Hart’s Food Stores, 267 F.2d 358 (2d Cir. 1959); see also Guthrie Healthcare System v.

ContextMedia, Inc., 873 F.3d 160 (2d Cir. 2017). Plaintiff’s principal office is 45 miles from

downtown Manhattan, where it conducts much of its business, but only 6 miles from the

Connecticut border, 15 miles from Stamford, and 35 miles from Bridgeport – major population

centers that are logistically more accessible than portions of New York City. The proximity and

ease of access to Connecticut strongly support the conclusion that Connecticut is within Plaintiff’s

reasonable zone of expansion.

           Nevertheless, to the extent this factor remains relevant, Plaintiff’s ability and authorization

to operate in Connecticut, bridges any alleged geographic “gap” and supports a finding that the



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    To the extent judicial notice is required, Plaintiff is filing a separate Motion for Judicial Notice herewith.


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fourth Polaroid factor weighs in Plaintiff’s favor.

       E. Evidence of Actual Consumer Confusion – Polaroid Factor 5

       Defendant’s use of Plaintiff’s BLACK WIDOW mark has caused actual consumer

confusion (Pl. 56(a)(1) ¶¶ 52-75). Plaintiff’s evidence of actual confusion goes beyond what is

required under the Lanham Act, as “it is black letter law that actual confusion need not be shown

to prevail under the Lanham Act since actual confusion is very difficult to prove and the Act

requires only a likelihood of confusion as to source.” Savin Corp. v. Savin Group, 391 F.3d 439

(2d Cir. 2004) citing Lois Sportswear, U.S.A., Inc. v. Levi Strauss & Co., 799 F.2d 867, 875 (2d

Cir. 1986). Courts in the Second Circuit have made clear that evidence of actual confusion is the

strongest proof supporting a finding of likelihood of confusion, and even minimal evidence is

difficult to rebut. See Savin Corp. v. Savin Group, 391 F.3d 439 (2d Cir. 2004) citing World

Carpets, Inc. v. Dick Littrell's New World Carpets, 438 F.2d 482, 489 (5th Cir. 1971).

       There can be no more positive or substantial proof of the likelihood of confusion than proof
       of actual confusion. Moreover, reason tells us that while very little proof of actual
       confusion would be necessary to prove the likelihood of confusion, an almost
       overwhelming amount of proof would be necessary to refute such proof.

Id. (emphasis added).

       Here, there is a robust and consistent record of actual confusion (Pl. 56(a)(1) ¶¶ 53-75).

After receiving several misdirected inquiries from customers, Plaintiff implemented a process to

contemporaneously document these incidents (Pl. 56(a)(1) ¶ 53). The resulting records, including

phone call notes and internal emails, show a pattern of real-world confusion beginning before the

litigation and continuing up to the present day. (Pl. 56(a)(1) ¶¶ 54–70).

       This confusion includes multiple examples of Defendant’s customers mistakenly

contacting Plaintiff to request or discuss services, including Richelle Burr, David Cass, Charlene

Jenkins, Herica Campos, Nicole Brown (FAD Mechanical), Charles Engle, Michele Rau, Laura



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Ledan, and David Cook (Letizia’s Pizza). (Pl. 56(a)(1) ¶¶ 56-58, 64-69). Some of these customers

have expressed confusion due to the similarities between the parties’ logos. For example, one

customer stated: “your guy came with a truck with the spider on it and I looked up the company

online to get the number, there is only one Black Widow, right?” (Ex. I at P000891); while another

customer who mistakenly contacted Plaintiff after conducting an online search for Defendant’s

number stated that the trucks of company he was serviced by (i.e., Defendant) had a logo which

was similar to Plaintiff’s (Ex. I at P000888). There are also numerous examples of referral sources

and pest control industry professionals mistakenly contacting Plaintiff while attempting to reach

Defendant. (Pl. 56(a)(1) ¶¶ 59, 63, 75). Some customers even expressed an inability to distinguish

between the companies despite prior, direct interactions with Defendant’s branding. (Pl. 56(a)(1)

¶¶ 71-73).

         Notably, confusion has also flowed in the other direction – Defendant has received

communications from customers and industry professionals who confused Defendant with

Plaintiff. (Pl. 56(a)(1) ¶¶ 74-75). This further underscores the serious and ongoing marketplace

harm and consumer confusion caused by Defendant’s unauthorized use of Plaintiff’s BLACK

WIDOW mark.

         And, to reiterate, Bridgette Burr still could not distinguish between the two companies or

their logos, despite Defendant having serviced her home on two separate occasions. (Pl. 56(a)(1)

¶ 40).

         The volume, consistency, and diversity of these documented incidents establish clear,

unambiguous evidence of actual confusion. Thus, under well-settled Second Circuit precedent, the

fifth Polaroid factor weighs strongly in Plaintiff’s favor.




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       F. Evidence of Bad Faith – Polaroid Factor 6

       The sixth Polaroid factor considers whether Defendant acted in good faith in adopting the

BLACK WIDOW mark. See Country Floors Inc. v. Mizak, No. 3:91-cv-628 (JAC), 1993 BL 9674,

at *4 (D. Conn. June 10, 1993). While this factor traditionally focuses on intent at the time of

adoption, courts have emphasized that the Polaroid analysis must be applied flexibly and

contextually. See Lois Sportswear, U.S.A., Inc. v. Levi Strauss & Co., 799 F.2d 867, 875 (2d Cir.

1986). Moreover, intentional copying is not required under the Lanham Act, and a defendant’s

subjective intent is not determinative of whether consumers are likely to be confused. See id.; see

also Country Floors Inc. v. Mizak, No. 3:91-cv-628 (JAC), 1993 BL 9674, at *4 (D. Conn. June

10, 1993).

       Defendant was presented with Plaintiff’s logo via a text message from a referral source and

made no effort to investigate the company behind the mark. (Ex. F, Blake Black Dep. Sept. 24,

2024 at 188:16-23). But, more significantly, Defendant received formal notice of Plaintiff’s rights

in the form of a letter on August 10, 2023, and thereafter continued to receive ongoing monthly or

quarterly evidence of actual confusion, yet took no action to prevent or remedy it. (Exhibits C, M).

Then, after Plaintiff’s word mark registration issued, Defendant removed the spider design

component from its website, effectively placing more emphasis on the BLACK WIDOW verbiage

and further aligning its branding with Plaintiff’s registered rights. (Pl. 56(a)(1) ¶¶ 96-98).

Defendant continued using the BLACK WIDOW mark to offer its pest control services despite:

(1) initially being notified of Plaintiff’s prior rights on August 10, 2023 (Pl. 56(a)(1) ¶ 24); (2)

institution of this litigation; and (3) receiving numerous instances of actual consumer confusion

between December 2023 and May 2025 (Pl. 56(a)(1) ¶¶ 80-93). In the face of Plaintiff’s

established rights and documented instances of confusion, Defendant took no meaningful steps to




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discontinue its use of the BLACK WIDOW name, logo or branding. (Pl. 56(a)(1) ¶¶ 81-82).

       In fact, Defendant persisted in its use even after being served with a copy of Plaintiff’s

Principal Register word mark registration on August 6, 2024, which issued without a disclaimer

and protects the term BLACK WIDOW regardless of stylization. (Pl. 56(a)(1) ¶ 98). Following

this, Defendant removed the spider design from its website, leaving the emphasized BLACK

WIDOW name, bringing its branding closer in appearance to Plaintiff’s word mark. (Pl. 56(a)(1)

¶¶ 96-97). If the spider designs featured in the parties’ logos are truly “different,” as Blake Black

claims (Ex. F at 194:16-18, 196:8-14), why remove the very element he argues distinguishes his

mark – especially when the remaining element, the “BLACK WIDOW” wording, is identical? The

only plausible explanation is that it was a calculated move made in bad faith. While Mr. Black

testified that the spider was inconsistent with his overall branding scheme (Ex. J at 152:20–153:9),

that claim is undermined by the fact that the Defendant’s BLACK WIDOW mark has always been

used in conjunction with the spider design. Moreover, the suggestion that a business generating

over $1 million in annual revenue could not, despite clear knowledge of Plaintiff’s registered word

mark, retain a web designer to adjust the website logo strains credibility (Ex. J at 153:15-154:8).

Simply put, Blake Black has shown no regard for whether his branding infringes Plaintiff’s rights.

Defendant continues to use its BLACK WIDOW logo despite being aware that this Court had

previously indicated that Defendant’s logo was similar Plaintiff’s registered BLACK WIDOW

logos. (Pl. 56(a)(1) ¶¶ 94-95). In fact, Mr. Black testified that he will not change his branding

unless ordered to do so by a judge. (Ex. J at 97:8-98:25). At some point, the writing is on the wall,

and a business operating in good faith would change its mark. Blake Black has not.

       There is evidence that Blake Black was presented with Plaintiff’s logo before the notice

letter and did not investigate. (Ex. K). Defendant’s conduct that ignores mounting evidence of




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confusion and known senior rights is relevant to this factor. Courts in similar circumstances have

found that where a defendant did not initially adopt a mark in bad faith, its continued use of the

mark after notice and termination constituted willful infringement. See Gcca, LLC v. MACCG,

LLC, No. 21-cv-5022 (JGK), 2024 BL 64807, at *13 (S.D.N.Y. Feb. 28, 2024) citing Nikon Inc.

v. Ikon Corp., 987 F.2d 91, 96 (2d Cir. 1993). Similarly, here, Defendant continued operating under

the BLACK WIDOW mark for nearly two years, during which time it received numerous instances

of documented confusion. That conduct, much like the conduct in Gcca, LLC, constitutes “willful

and intentional infringement” of Plaintiff’s trademark rights because the Defendant has at all

relevant times had knowledge that its activities are in direct contravention of Plaintiff’s rights. Id.

Thus, Defendant’s intentional conduct supports a finding that the sixth Polaroid factor weighs in

Plaintiff’s favor.

        G. Consumer Sophistication – Polaroid Factor 8

        The eighth Polaroid factor evaluates the sophistication of the relevant consumers. See

Polaroid Corp. v. Polarad Elecs. Corp., 287 F.2d 492, 495 (2d Cir.1961). Courts consider the

level of sophistication typical purchasers in the relevant market, including the “general impression

of the ordinary purchaser, buying under the normally prevalent conditions of the market and giving

the attention such purchasers usually give in buying that class of [services]”. Callman on Unfair

Competition, Trademarks and Monopolies § 81.2 at 577; see also, Miss Universe, Inc. v. Patricelli,

408 F.2d 506, 509 (2d Cir. 1969); Avon Shoe Co. v. David Crystal, Inc., 279 F.2d 607, 612 (2d

Cir. 1960); Restatement (First) of Torts §§ 729(d), 731(g).

        Importantly, where the marks and services are effectively identical, as is the case here,

courts have indicated that even relatively sophisticated consumers may still be confused. See BPI

Lux S.a.r.l. v. Bd. of Managers of Setai Condo., No. 18 Civ. 1621 (NRB), 2019 BL 262995, at *9




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(S.D.N.Y. July 16, 2019) (“where the [services] are identical and the marks are identical, the

sophistication of buyers cannot be relied on to prevent confusion.”)

        Here, both Plaintiff and Defendant offer pest control services to the general public –

specifically homeowners, renters, and small businesses – who are likely to act with urgency and

minimal research in response to an immediate pest issue. (Pl. 56(a)(1) ¶ 101). The services offered

by both Plaintiff and Defendant are not high-end purchases typically purchased after extensive

research and/or evaluation. Rather, they are routine, time-sensitive consumer services often

selected based on expedience, availability and prominence in online search results. (Pl. 56(a)(1) ¶

99-100).

        This is exemplified by the testimony of Bridgette Burr, a customer who performed a

Google search for “Black Widow Pest Control” and contacted the first number she saw, mistakenly

contacting Plaintiff instead of Defendant. (Pl. 56(a)(1) ¶¶ 99, 101). Her experience exemplifies the

understandably low degree of care exercised by ordinary consumers when faced with bugs,

termites, wild animals invading their home or business, and illustrates that consumer confusion is

likely to occur under typical market conditions.

        Because the parties’ offer essentially identical services to ordinary consumers, and those

services are often selected quickly and with minimal diligence, the eighth Polaroid factor favors

Plaintiff.

II.     DEFENDANT’S COUNT I – DECLARATORY JUDGMENT OF INELIGIBILITY
        OF PLAINTIFF’S TRADEMARK

        Count one of Defendant’s counterclaims seeks a declaratory judgment that Plaintiff’s

U.S. Application Serial No. 98/124,482 is incapable of registration. (Pl. 56(a)(1) ¶ 103).

However, the United States Patent and Trademark Office approved the application and issued

U.S. Registration No. 7,466,919 on the Principal Register without requiring any disclaimer. (Pl.



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56(a)(1) ¶ 104, 111). These undisputed facts establish that the BLACK WIDOW mark is

presumptively valid and distinctive, as provided under 15 U.S.C. § 1115(a), and that Defendant

lacks both evidentiary and factual support to challenge its eligibility for registration.

       Plaintiff filed U.S. Serial No. 98/124,482 for BLACK WIDOW on August 9, 2023. (Pl.

56(a)(1) ¶ 105). The United States Patent and Trademark Office conducted a full examination

which included a search of the USPTO database for any conflicting marks and the USPTO did

not issue any refusals based on mere descriptiveness under Trademark Act Section 2(e), 15

U.S.C. § 1052(e), or likelihood of confusion under Trademark Act Section 2(d), 15 U.S.C. §

1052(d). (Pl. 56(a)(1) ¶ 106). The application received no oppositions during its 30-day

publication period, and ultimately registered on the Principal Register on August 6, 2024 as U.S.

Registration No. 7,466,919. (Pl. 56(a)(1) ¶ 107-109; see also TMEP § 1502) (“[a]fter

examination of an application is completed and the examining attorney determines that the mark

is entitled to registration on the Principal Register, the mark is published in the USPTO's

Trademark Official Gazette for opposition.”)

       The U.S. Trademark Office’s decision to register the BLACK WIDOW mark on the

Principal Register without a disclaimer (Pl. 56(a)(1) ¶¶ 109-111) reflects its determination that

the BLACK WIDOW mark is distinctive and functions as a source identifier for Plaintiff’s pest

control services (Pl. 56(a)(1) ¶ 110; see also TMEP § 1202).

       Despite this, on August 27, 2024, Defendant filed a Petition to Cancel U.S. Registration

No. 7,466,919 with the Trademark Trial and Appeal Board under Cancellation No. 92086092.

(Pl. 56(a)(1) ¶ 113). That proceeding has since been stayed pending the outcome of this

litigation. (Pl. 56(a)(1) ¶ 140). Notably, Defendant’s petition was filed without any supporting

evidence or exhibits. (Pl. 56(a)(1) ¶ 113). In fact, throughout discovery Defendant failed to




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produce competent evidence of prior use or superior rights by any third party sufficient to

challenge Plaintiff’s registration.

        Specifically, in response to Interrogatory No. 19 which asked Defendant to “describe in

detail any trademarks used by third parties upon which Defendant will rely in connection with

this proceeding,” Defendant identified four entities allegedly using the BLACK WIDOW name:

“Black Widow Pest Control, Inc.” in Utah, “Black Widow Pest Control Inc.” in Indiana, “Black

Widow Exterminators, Inc.” in Colorado and “Black Widow Pest Management LLC” in

Connecticut. (Pl. 56.¶¶ 114, 118). During his April 23, 2025 deposition, Defendant’s principal,

Blake Black, confirmed that Defendant’s response to Interrogatory No. 19 was complete and

accurate (Pl. 56.¶ 117), and Defendant did not supplement or amend its response at any time

before the close of fact discovery, before the filing of this Rule 56(a)(1) Statement, or after the

response was presented to Mr. Black at his deposition. (Pl. 56(a)(1) ¶ 116). Defendant also failed

to subpoena any records, take any depositions, or submit any testimony from representatives of

the named third parties. (Pl. 56(a)(1) ¶¶ 131-133). Nor has Defendant presented any

documentary or testimonial evidence that any of those third parties used the BLACK WIDOW

mark prior to Plaintiff’s first use, or that any such use has been continuous through the present.

(Pl. 56(a)(1) ¶ 133). In fact, Mr. Black testified that one of the identified third-party entities –

Black Widow Pest Management LLC in Connecticut – is out of business, and that he has no

knowledge as to when the others were formed, whether they have continuously used the BLACK

WIDOW mark, whether they are currently operating, or whether any of them used the mark

before Plaintiff. (Pl. 56(a)(1) ¶¶ 119-130). Accordingly, Defendant lacks any evidence of third-

party priority that could support either its counterclaim or its petition to cancel.

        To establish that these alleged third-party common law users have rights relevant to this




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dispute, Defendant must establish that such third parties had priority and continuous use of the

mark predating Plaintiff. See generally Saratoga Vichy Spring Co. v. Lehman, 625 F.2d 1037,

1043 (2d Cir. 1980) (holding that even if a mark has acquired secondary meaning, it cannot

preclude use by a party whose use began earlier). Defendant has offered no such evidence and

has not identified a single witness capable of competently testifying as to third-party priority or

continuous use. Importantly, Defendant’s initial disclosures and interrogatory responses do not

identify any witnesses who have any actual knowledge of any asserted third-party use of

BLACK WIDOW (Exhibits P and R). Defendant’s Initial Disclosures identify the following

witnesses: Blake Black and Merina Sabatucci, both of whom are affiliated with Defendant (Ex. R

at 1-2). Defendant’s response to Interrogatory No. 18 identifies the following individuals: Jim

Horton, Merina Sabatucci, Michael Camilini, Robert Scribner, Russell Sieb, and Drew Cowley

(Ex. P at 10), none of which are associated with “Black Widow Pest Control, Inc.” in Utah,

“Black Widow Pest Control Inc.” in Indiana, or “Black Widow Exterminators, Inc.” in Colorado.

(Pl. 56(a)(1) ¶ 135). While Defendant may attempt to rely on screenshots or references to certain

websites, such materials are insufficient to establish the date of first use, whether use has been

continuous, the geographic scope of that use, or whether the use continues to this day.

       Moreover, Defendant’s fraud-based counterclaim (Dkt. 14, Countercl. ¶ 20) is

unsupported and fails as a matter of law. To prevail on a fraud claim, a party must prove by clear

and convincing evidence that the applicant knowingly made a false, material representation with

the intent to deceive the USPTO. See In re Bose Corp., 580 F.3d 1240, 1243 (Fed. Cir. 2009)

(“[f]raud in procuring a trademark registration or renewal occurs when an applicant knowingly

makes false, material representations of fact in connection with his application.”). A party, such

as Defendant, seeking cancellation or judgment against a trademark registration for fraudulent




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procurement bears a heavy burden of proof. See id. citing W.D. Byron & Sons, Inc. v. Stein Bros.

Mfg. Co., 54 C.C.P.A. 1442, 377 F.2d 1001, 1004 (1967). Indeed, “the very nature of the charge

of fraud requires that it be proven ‘to the hilt’ with clear and convincing evidence. There is no

room for speculation, inference or surmise and, obviously, any doubt must be resolved against

the charging party.” In re Bose Corp., 580 F.3d 1240, 1243 (Fed. Cir. 2009) citing Smith Int'l,

Inc. v. Olin Corp., 209 USPQ 1033, 1044 (T.T.A.B. 1981). Defendant offers no such evidence.

Mr. Black expressly testified that he is not aware of any evidence that Plaintiff knew of any

third-party using the BLACK WIDOW name prior to filing its trademark application. (Pl.

56(a)(1) ¶ 137). Nor can Defendant prevail on its fraud claim based on its own alleged priority.

Plaintiff has operated under the BLACK WIDOW name since at least 2003 (Pl. 56(a)(1) ¶ 142),

nearly two decades before Defendant’s first use in 2021 (Pl. 56(a)(1) ¶ 149). Accordingly, in the

absence of any evidence that Plaintiff knowingly omitted material information or intended to

deceive the Trademark Office, Defendant’s fraud-based counterclaim fails as a matter of law.

Moreover, the individual who signed the declaration, Scott Charney, has not been subpoenaed by

Defendant, and discovery is now closed (Pl. 56(a)(1) ¶ 21). Defendant’s speculation about what

Mr. Charney might say is legally insufficient to support a genuine dispute. See In re Bose Corp.,

580 F.3d 1240, 1243 (Fed. Cir. 2009). The fact that the application was filed and signed with

knowledge of Defendant’s use is wholly irrelevant as the acquired distinctiveness analysis

expressly excludes infringing uses from consideration. See L.D. Kichler Co. v. Davoil, Inc., 192

F.3d 1349 (Fed. Cir. 1999) citing TMEP § 1212.05(b).

       In the same regard, any claim that the BLACK WIDOW mark is incapable of registration

as being “merely descriptive” is equally unavailing. Mr. Black testified that black widow spiders

are “not prevalent in this part of the country,” referring to New York and Connecticut, where




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both Plaintiff and Defendant operate. (Pl. 56(a)(1) ¶ 112). He further confirmed that Defendant

has never treated black widow spiders in the course of providing its services and acknowledged

that such pests uncommon in the Northeast. (Pl. 56(a)(1) ¶¶ 138-139). He also admitted that the

term BLACK WIDOW does not describe any service Defendant has ever provided. (Ex. J at

128:18-23). These facts preclude Defendant from arguing that “Black Widow” is merely

descriptive of the services offered, and support the USPTO’s determination that the BLACK

WIDOW mark is inherently distinctive of the services Plaintiff provides thereunder.

       Finally, Defendant’s claim that it has “no adequate remedy at law” (Dkt. 14, Countercl. ¶

25) and its request to bar Plaintiff from filing any future trademark applications for “Black

Widow” (Dkt. 14, Countercl. ¶ 24) are wholly unsupported by fact or law. Irreparable harm

exists “where, but for the grant of equitable relief, there is a substantial chance that upon final

resolution of the action the parties cannot be returned to the positions they previously occupied.”

SEC v. Daspin, 557 F. App'x 46, 48 (2d Cir. 2014) citing Brenntag Int'l Chem., Inc. v. Bank of

India, 175 F.3d 245, 249-50 (2d Cir.1999). Defendant makes no such showing. Plaintiff has

continuously operated under the BLACK WIDOW mark since at least 2003, while Defendant

began using the same name since 2021, and continued doing so in 2023 with full knowledge of

Plaintiff’s prior use and federal registration rights. The mere possibility that Plaintiff may file

additional BLACK WIDOW applications does not impair Defendant’s ability to continue

operating as it has for years during the coexistence of the parties’ businesses. In fact, Defendant

has affirmatively chosen to continue using the name despite being aware of instances of

consumer confusion. Having elected to proceed in the face of those risks, Defendant cannot now

claim that additional trademark filings by Plaintiff pose irreparable harm. Its speculative

concerns do not justify the extraordinary relief it seeks, and its request for a broad bar on future




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applications for a mark in which Plaintiff holds clear priority is both improper and unsupported

under the Lanham Act.

         For all these reasons, Plaintiff is entitled to summary judgment on Count One of

Defendant’s counterclaims.

III.     DEFENDANT’S COUNT II – COMMON LAW TRADEMARK INFRINGEMENT

         Count two of Defendant’s counterclaims alleges common law trademark infringement,

unfair competition, and deceptive trade practices under Connecticut law. (Dkt. 14, Countercl. ¶¶

26–36). Plaintiff is the owner of incontestable trademark registrations incorporating the term

BLACK WIDOW. Under the Lanham Act, incontestability confers a nationwide exclusive right

to use the registered mark everywhere in commerce, defined all commerce which may lawfully

be regulated by Congress. See 15 U.S.C. § 1115(b). Once a mark becomes incontestable, it is

immune to certain challenges, including assertions that the registrant lacks the right to use the

mark. See Park 'N Fly, Inc. v. Dollar Park & Fly, Inc., 469 U.S. 189 (1985) (“Incontestable

status provides…conclusive evidence of the registrant’s exclusive right to use the registered

mark”). Despite this, Defendant improperly asks this Court to enjoin Plaintiff from using its own

incontestable mark, an outcome that is barred by the statutory protections outlined in 15 U.S.C. §

1115(b)As explained in Plaintiffs Rule 12(c) motion, currently subject to a request for

reconsideration, Defendant cannot assert a claim that directly contradicts Plaintiff’s statutory

right to use its incontestable marks. (Dkts. 27, 108). Although the Court denied the Rule 12(c)

motion as moot following the withdrawal of Defendant’s admissions (Dkt. 102), that withdrawal

has no bearing on the legal sufficiency of Plaintiff’s motion or the facts germane to the Rule

12(c) motion.




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       To summarize, Defendant’s common law claim fails as a matter of law for at least four

independent reasons: (1) Plaintiff has priority of use and ownership of the BLACK WIDOW

mark; (2) several of Plaintiff’s BLACK WIDOW marks have been declared incontestable, and

Defendant has admitted their incontestability; (3) Defendant lacks any enforceable rights in the

mark and admitted as much; and (4) any counterclaim challenging the validity of Plaintiff’s logo

marks was a compulsory counterclaim that Defendant failed to assert in its Answer, and is

therefore waived. See generally Pirone v. MacMillan, Inc., 894 F.2d 579 (2d Cir. 1990) (a party

asserting common law infringement must show valid, protectable trademark rights, priority of

use, and that the opponent’s subsequent use is likely to cause confusion).

       First, Plaintiff has priority of use and ownership of the BLACK WIDOW mark (Pl.

56(a)(1) ¶ 151). Plaintiff began using its BLACK WIDOW mark in connection with pest control

services no later than September 15, 2003. Plaintiff owns multiple federal registrations for the

BLACK WIDOW mark, including U.S. Trademark Registration Nos. 4,624,108 and 4,624,109,

both of which identify a first use date of September 15, 2003. (Pl. 56(a)(1) ¶¶ 142-144). These

facts are not in dispute. At the time Plaintiff adopted and began using the mark, Defendant did

not exist, had not used the BLACK WIDOW name in commerce, and Plaintiff was unaware of

any third-party use. (Pl. 56(a)(1) ¶ 150). Defendant did not begin using the BLACK WIDOW

name until 2021, almost two decades after Plaintiff’s first use. (Pl. 56(a)(1) ¶ 149). Accordingly,

Plaintiff indisputably has priority, (Pl. 56(a)(1) ¶ 151), and Plaintiff has made continuous use of

its marks in commerce. (Pl. 56(a)(1) ¶¶ 142-143).

       Second, several of Plaintiff’s BLACK WIDOW trademark registrations are incontestable

under 15 U.S.C. § 1065, further strengthening Plaintiff’s rights. (Pl. 56(a)(1) ¶ 153).

Incontestable status of these registrations provides conclusive evidence of: the validity of the




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registered marks, Plaintiff’s ownership of the registered marks, and Plaintiff’s exclusive right to

use the registered marks in commerce for the identified services. See 15 U.S.C. §§ 1065,

1115(b). Notably, Defendant did not deny the allegations in Plaintiff’s complaint relating to the

incontestable nature of Plaintiff’s U.S. Trademark Registration Nos. 4,624,108 and 4,624,109 for

its BLACK WIDOW marks. (Pl. 56(a)(1) ¶ 154). Pursuant to Rule 8(b)(6) of the Federal Rules

of Civil Procedure, that failure to deny constitutes an admission that Plaintiff owns U.S.

Trademark Registration Nos. 4,624,108 and 4,624,109 and that both marks are incontestable. (Pl.

56(a)(1) ¶ 155).

       Third, Defendant lacks enforceable rights in the BLACK WIDOW mark. Defendant does

not own, has never owned, and has never even applied for, a state or federal trademark

registration for BLACK WIDOW. (Pl. 56(a)(1) ¶ 146). In fact, when asked to confirm that

Defendant does not own a trademark for “BLACK WIDOW”, Defendant’s principal, Blake

Black, stated “that’s correct”. (Pl. 56(a)(1) ¶ 152). To the extent Defendant claims any common

law rights, those rights are junior and legally insufficient to overcome Plaintiff’s long-standing

and continuous use of the mark, including in New York, New Jersey and Connecticut. (Pl.

56(a)(1) ¶ 147).

       Fourth, any counterclaim for invalidity of Plaintiff’s logos was a compulsory

counterclaim under Federal Rule of Civil Procedure 13(a) and was required to be asserted at the

time Defendant filed its Answer. Defendant failed to do so. Moreover, Defendant affirmatively

admitted that Plaintiff’s logo marks are incontestable. As the Supreme Court explained, “[a]

counterclaim which is compulsory but is not brought is thereafter barred.” See Baker v. Gold

Seal Liquors, Inc., 417 U.S. 467, 469 n.1 (1974); accord Mali v. Fed. Ins. Co., 720 F.3d 387, 395

(2d Cir. 2013).




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         Defendant also offers no competent evidence of damages or lost business resulting from

Plaintiff’s use of its BLACK WIDOW mark. Despite the Court’s Scheduling Order, Defendant

failed to serve a damages report, and the deadline to do so has now passed. (Pl. 56(a)(1) ¶ 156).

As such, any damages Defendant claims to have sustained as a result of the alleged common law

infringement are purely speculative.

         In sum, Plaintiff has priority, incontestable trademark rights, and a long history of

continuous use that predates Defendant by nearly 20 years. Defendant lacks any trademark

rights, cannot prove priority, and offers no damages or legal justification for its counterclaim. As

such, summary judgment should be granted in Plaintiff’s favor on Count Two of Defendant’s

counterclaims.

IV.      DEFENDANT’S AFFIRMATIVE DEFENSES ARE UNSUPPORTED AND FAIL
         AS A MATTER OF LAW

         Defendant asserts several affirmative defenses that fail as a matter of law or are

unsupported by the record.

      A. Second Affirmative Defense – Supplemental Register Misstatement

         In its second affirmative defense, Defendant alleges that Plaintiff “knowingly and falsely

presented” U.S. Trademark Registration No. 4,582,084 as a Principal Register trademark. (Dkt.

14 at 9). However, this claim is entirely unsupported by the record. In the parties’ letter

correspondence, Plaintiff made no representation that the ‘084 Registration was on the Principal

Register. (Ex. C; Pl. 56(a)(1) ¶ 157). Plaintiff merely stated: “Moreover, Black Widow is the

owner of U.S. Trademark Registration No. 4,582,084 for the BLACKWIDOWPEST mark; U.S.

Trademark Registration No. 4,624,108 for the BLACK WIDOW mark; and U.S. Trademark

Registration No. 4,624,109 for the BLACK WIDOW TERMITE & PEST CONTROL CORP. -

"SHE ALWAYS GETS HER PREY!" mark, all for "termite and pest control" in International



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Class 037. The latter two marks have been deemed “incontestable” by the United States Patent

and Trademark Office ("USPTO").” (Ex. C). Plaintiff’s letter also included a copy of the ‘084

Registration, which clearly identifies the mark as being registered on the Supplemental Register.

(Ex. C at 3). Moreover, Defendant was plainly aware of the mark’s registration status, as its own

response letter identified the ’084 mark as being registered on the Supplemental Register. (Ex. C;

Pl. 56(a)(1) ¶ 157). Thus, Defendant’s assertion of intentional misrepresentation as set forth in its

second affirmative defense is entirely baseless.

   B. Ninth Affirmative Defense – Lack of Use in Connecticut

       In its ninth affirmative defense, Defendant contends that Plaintiff’s claims are barred due

to an alleged lack of commerce in the state of Connecticut. (Dkt. 14 at 10-11). This claim is

factually incorrect and legally insufficient. Plaintiff is licensed by the State of Connecticut to

provide wildlife management services. (Pl. 56(a)(1) ¶ 158). Additionally, Plaintiff has actively

promoted and/or offered its BLACK WIDOW pest control services to customers who reside in

Connecticut but own or manage properties in New York City. (See Pl. 56(a)(1) ¶ 147; see also Ex.

V). For argument’s sake, even if Plaintiff had zero use in Connecticut, Defendant’s ninth

affirmative defense would still fail. Federal trademark rights are based on interstate use. Thus,

Plaintiff need only show use between two states, such as New York and New Jersey, to maintain

its federal registrations – which Plaintiff has done. (See Exhibits T and T1).

       Overall, the undisputed facts establish Plaintiff’s use of the BLACK WIDOW mark in

interstate commerce, including within Connecticut. Accordingly, Defendant’s assertion of nonuse

in Connecticut fails as a matter of law.

   C. Tenth Affirmative Defense – Customer Confusion Mischaracterization

       In its tenth affirmative defense, Defendant claims that Plaintiff’s allegations of consumer




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confusion are false or such confusion somehow supports Defendant’s superior rights in the

BLACK WIDOW name. (Dkt. 14 at 11). The record squarely contradicts these assertions.

Defendant’s principal, Blake Black, admitted under oath that Defendant has received calls from

customers attempting to reach Plaintiff. (Pl. 56(a)(1) ¶¶ 159-160). Defendant also received a text

message from an industry professional mistakenly identifying a glue trap bearing Plaintiff’s logo

as Defendant’s work. (Pl. 56(a)(1) ¶¶ 161-163). These admissions directly undermine

Defendant’s tenth affirmative defense, which states that it “has never received a single call from

a customer who, to Defendant’s knowledge, was looking for Plaintiff.” (Dkt. 14 at 11).

Moreover, since Defendant filed its Answer, Plaintiff has submitted documentary evidence of at

least sixteen (16) separate instances of actual consumer confusion (Pl. 56(a)(1) ¶¶ 55-70),

negating Defendant’s statement that “Plaintiff’s claims of receiving such calls may be false.”

(Dkt. 14 at 11). This evidence confirms that Plaintiff’s allegations of confusion are well-

supported and renders Defendant’s tenth affirmative defense meritless.

   D. Twelfth Affirmative Defense – Surname and Descriptiveness Argument

       Finally, in its twelfth affirmative defense, Defendant asserts that Plaintiff is attempting to

control the use of its principal’s surname (i.e., “Black”), or a merely descriptive term. (Dkt. 14 at

12-13). This defense also fails as a matter of law. Defendant does not use “Black” as a surname

within the mark BLACK WIDOW, nor is the mark used in a descriptive sense. (Pl. 56(a)(1) ¶

164). The surname of Defendant’s principal is not “Black Widow” or “Blackwidow,” and the

term “Black Widow” does not describe any services offered by Defendant. (Id.; see also Pl.

56(a)(1) ¶¶ 138-139).

       In addition, Defendant affirmatively alleges that it operates under the name “Black

Widow Pest Specialist” and claims to hold “common law trademark rights” in the mark BLACK




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WIDOW. (Dkt. 14 at 16 ¶ 11; 19 ¶ 31). These admissions confirm that Defendant uses BLACK

WIDOW as a trademark to identify the source of its services. However, a fair use defense under

15 U.S.C. § 1115(b)(4) requires that the allegedly infringing term be used “otherwise than as a

mark.” See Tiffany & Co. v. Costco Wholesale Corp., 971 F.3d 74, 92 (2d Cir. 2020) (quoting JA

Apparel Corp. v. Abboud, 568 F.3d 390, 400 (2d Cir. 2009)). Because Defendant expressly

asserts trademark rights in BLACK WIDOW, it cannot claim that its use is merely descriptive or

surname-based.

       Moreover, Plaintiff’s ‘919 Registration for the BLACK WIDOW word mark is registered

on the Principal Register, and at least two other registrations (i.e., ‘108 and ‘109 Registrations)

have achieved incontestable status. This conclusively establishes the validity of the marks and

Plaintiff’s exclusive right to use them, defeating any argument that the marks are merely

descriptive. See 15 U.S.C. §§ 1057(b); 1115(a)-(b).

       As the Supreme Court held in Park 'N Fly, Inc. v. Dollar Park & Fly, Inc., 469 U.S. 189

(1985), incontestable registrations preclude challenges based on mere descriptiveness (“The

language of the Lanham Act…refutes any conclusion that an incontestable mark may be

challenged as merely descriptive…With respect to incontestable marks[, Lanham Act] § 33(b),

provides that registration is conclusive evidence of the registrant's exclusive right to use the

mark, subject to the conditions of § 15 and the seven defenses enumerated in § 33(b) itself. Mere

descriptiveness is not recognized by either § 15 or § 33(b) as a basis for challenging an

incontestable mark.”) See 15 U.S.C. §§ 1115(a)-(b), 1065.

       Accordingly, Defendant’s twelfth affirmative defense must be rejected.




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                                         CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that the Court grant its Motion

for Summary Judgment in full, enter judgment in favor of Plaintiff on all claims, and dismiss

Defendant’s counterclaims and aforementioned affirmative defenses in their entirety.

       Plaintiff has established that it owns valid and enforceable trademark rights in the

BLACK WIDOW mark, that Defendant’s use of the mark is likely to cause confusion, and that

Defendant’s defenses lack merit both factually and as a matter of law.

       Accordingly, Plaintiff is entitled to all relief sought, including injunctive relief, damages,

and any other remedies the Court deems just and proper.




Dated: June 18, 2025
                                      FARBER, LLC

                                      By /s/Jonathan A. Winter
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                                CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing is being served via ECF.


06/18/2025                                           /s/Jonathan A. Winter

Date                                                 Jonathan A. Winter




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